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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA

NATIONAL CANCER ASSISTANCE )
FOUNDATION, INC.,          )
                           )
              Plaintiff,   )
                           )
         v.                )                      Case No. CIV-17-777-R
                           )
NATIONAL COMMUNITY         )
ADVANCEMENT, INC.          )
                           )
and                        )
                           )
COURTESY CALL, INC.,       )
                           )
                           )
              Defendants.  )


                       DEFENDANT’S REPLY IN SUPPORT OF
                        MOTION TO DISMISS OR TRANSFER

       Defendant National Community Advancement, Inc. (“NCA”) submits this Reply

in support of its Motion to Dismiss or Transfer the action filed against NCA by Plaintiff

National Cancer Assistance Foundation, Inc. (“Plaintiff”). Defendant NCA has a

principal place of business in Pompano Beach, Florida. Plaintiff has no offered evidence

that NCA conducts business in Oklahoma. NCA does not have offices or employees that

reside in Oklahoma. NCA employees do not travel to Oklahoma as part of their regular

business activities. No documents or tangible things related to any of NCA’s business

activities are located in Oklahoma. NCA has no presence in, or deliberate contact with,

Oklahoma at all, and the Complaint fails to allege facts sufficient to establish personal

jurisdiction or venue in this district.


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       In the Plaintiff’s opening remarks in their Response to NCA’s Motion to Dismiss,

Plaintiff describes NCA as a charitable organization registered in Oklahoma “who

expressly intends to solicit potential donations from Oklahoma citizens from August 17,

2017 through August 23, 2018 by way of direct mail and telephone…” Although it is

unclear where the Plaintiff derived the August 17, 2017 date, the period described above

is after the date of the Complaint. Clearly, the Plaintiff cannot rely upon the inference

that NCA might have some presence in Oklahoma at some future point in order to

support their argument in favor of personal jurisdiction over NCA in Oklahoma. In

addition to this opening statement, none of the Plaintiff’s other points are valid in support

of their argument in favor of jurisdiction.

                                      ARGUMENTS

I.     STANDARD GOVERNING SPECIFIC JURISDICTION

       In their Response Brief, the Plaintiff has conceded that “NCA does not have a

sufficient presence in Oklahoma to establish general jurisdiction,” and thus must rest its

case on specific jurisdiction. Where the assertion of jurisdiction is specific, i.e., based

upon a non-resident’s contacts with the forum that are related to the controversy, “[d]ue

process is satisfied if a non-resident defendant has ‘minimum contacts’ with the forum

state ‘such that the maintenance of the suit does not offend traditional notions of fair play

and substantial justice.’” Gilbert v. Security Finance Corp. of Okla., 2006 OK 58, ¶ 16,

152 P.3d 165, 173, (quoting Helicopteros Nacionales de Colombia, S.A. v. Hall, 466 U.S.

408, 414 (1984)); see also Burger King Corp. v. Rudzewicz, 471 U.S. 462, 471-472

(1985). In this regard, a two-step inquiry is applied: (1) whether the nonresident

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purposefully established minimum contacts with the forum state; and (2) if so, whether

the court's assertion of jurisdiction comports with traditional notions of fair play and

substantial justice. Burger King, 471 U.S. at 474-476.

II.    PLAINTIFF’S COMPLAINT FAILS TO ASSERT FACTS TO SUPPORT
       SPECIFIC JURISDICTION

        a. Lack of Minimal Contacts

       The allegations in the Complaint fail to show any basis for specific jurisdiction

over NCA. As discussed above, NCA does not purposely direct any of their business to

Oklahoma customers, or purposely avail itself of the privilege of doing business in

Oklahoma. “[T]he constitutional touchstone remains whether the defendant purposefully

established ‘minimum contacts’ in the forum State.” Burger King, 471 U.S. at 474 (citing

Int'l Shoe, 326 U.S. at 316). There are no allegations of any kind in the Complaint of

NCA’s contacts with the forum state related to the controversy. Since the purposeful

availment requirement is not met, specific jurisdiction over NCA does not exist.

       The Plaintiff has relied on the New Jersey case of Deborah Heart and Lung

Center v. Children of the World Foundation, Ltd., 99 F.Supp.2d 481, 487 (D. N. J. 2000)

for the argument that regularly soliciting and receiving donations from the residents of a

state provides sufficient evidence of the purposeful availment requirement. In spite of

these arguments, the Plaintiff has clearly not offered sufficient evidence to prove that

NCA regularly solicited and received donations from Oklahoma, but rather inferred that

there might be some intent in the future to solicit and receive donations. In fact, the




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Plaintiff has not offered sufficient evidence to prove that NCA has solicited or received

any donations in Oklahoma.

       The Plaintiff appears to be relying upon the evidence found in the four Exhibits

shown in their Response Brief. In Exhibit 1, the Plaintiff shows the Registration

Statement of Charitable Organization, National Police Association, Inc. As pointed out

in NCA’s Motion to Dismiss, the mere fact that NCA was formerly known as National

Police Association is insufficient evidence to support an argument of personal

jurisdiction since there was no evidence offered to suggest that NCA has carried on the

work done by the National Police Association, Inc., and in fact, the name change to NCA

would suggest that its work has changed as well. Moreover, the Plaintiff has offered no

evidence to even show that the National Police Association has solicited or received any

donations in Oklahoma. The Plaintiff additionally provides in Exhibits 2 and 3, the

Renewal Registration of NCA as a Charitable Organization in the State of Oklahoma.

These documents show, at most, an intent to possibly solicit contributions at some point

in the future. In Deborah Heart and Lung Center, cited by the Plaintiff and above, the

Court appears to specifically require actual proof of solicitations, as opposed to the mere

inferences provided by the Plaintiff. Deborah Heart and Lung Center, 99 F.Supp.2d at

487.

       Finally, the Plaintiff argues that NCA has retained Donor Relations, LLC to act on

its behalf as a professional fundraiser in Oklahoma. Exhibit 4 shows the Registration as a

Professional Fundraiser form for Donor Relations, LLC. Page 3 of Exhibit 4 lists Donor

Relations’ many charitable organizations. NCA appears near the bottom of the list, with

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a contract term extending from 7/1/2016 to 6/30/2022. Page 5 of Exhibit 4 lists names

with the heading “#4 DR OK callers.” There is no evidence provided to suggest that

Donor Relations has called or even intended to call those individuals on behalf of NCA,

or any of the other corporations listed on page 3, or precisely what is the intent of the list.

Clearly, the Plaintiff has not established a prima facie showing of personal jurisdiction

over NCA.

        b. Reasonableness Requirement and Due Process

       Moreover, the exercise of specific jurisdiction over NCA would still fail because it

does not comport with the traditional notions of fair play and substantial justice. Burger

King, 471 U.S. at 476 (noting that once purposeful availment has been established, these

minimum contacts must be analyzed in the context of other factors to determine whether

notions of fair play and substantial justice are satisfied). This second prong of the

analysis is often referred to as the “reasonableness requirement.” In evaluating the

reasonableness requirement, courts consider: (1) the burden on the defendant; (2) the

forum state’s interest in adjudicating the alleged controversy; (3) the plaintiff’s interest in

obtaining convenient and effective relief; (4) the interstate judicial system’s interest in

obtaining the most efficient resolution of cases; and (5) the shared interest of all states in

furthering fundamental substantive social policies. Id. at 477 (internal citations and

quotations omitted). Moreover, the specific jurisdiction analysis is based on a sliding

scale -- the weaker the plaintiff’s showing of minimum contacts, the easier it is for the

defendant to prevail on the basis that jurisdiction does not comport with fair play and

substantial justice. Id. at 1078-79.

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       Here, Plaintiff’s showing of minimum contacts is non-existent, so the

reasonableness inquiry is moot. But even if the Plaintiff could muster a weak showing of

minimum contacts, NCA would only need to make a minimal showing of

unreasonableness under the second prong to defeat jurisdiction. It is irrelevant whether

Mr. Sharon can afford to pay for travel expenses to Oklahoma, or whether his health

makes travel difficult, as argued by the Plaintiff. The question is whether it is

unreasonable to require NCA to litigate in a state outside of where both parties reside,

and where Oklahoma would have little interest in adjudicating the alleged controversy

given that there is no evidence to show that the alleged misconduct took place in their

jurisdiction. In this case, that requirement would be unreasonable.

       The Plaintiff has clearly failed to make a showing of personal jurisdiction in this

case. The Plaintiff has failed to provide evidence that NCA has availed itself of the

privilege of doing business in Oklahoma. NCA has a principal place of business in

Florida, there is no evidence that NCA conducts any business in Oklahoma, NCA does

not have any offices or employees that reside in Oklahoma, NCA does not have any

employees that travel to Oklahoma as part of their regular business activities, and no

documents or tangible things related to any of NCA’s business activities are located in

Oklahoma. Additionally, the exercise of personal jurisdiction over NCA would fail in this

case under the principals of fair play and substantial justice. Although only a minimal

showing of unreasonableness would be required, in this case, there is a substantial

showing of unreasonableness in having NCA litigate this matter in Oklahoma.



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III.   IMPROPER VENUE UNDER 28 U.S.C. § 1391

       Plaintiff bears the burden of proving proper venue. See Pierce v. Shorty Small’s of

Branson, Inc., 137 F.3d 1190, 1192 (10th Cir. 1998)). In assessing whether a plaintiff

has met this burden, the facts alleged in the Complaint are taken as true, but only to the

extent they are uncontroverted by the defendant’s evidence. See Id. Furthermore, in

asserting proper venue, it is not sufficient for a plaintiff to offer up a mere recitation of

the language of the venue statute. See, e.g., Koenig Healthcare Edmond, PLLC v.

Peyroux, 2017 U.S. Dist. LEXIS 13024 at *2-3 (U.S. District Court for the Western

District of Oklahoma finding that the mere recitation in a Complaint that “a substantial

part of the events or omissions giving rise to Plaintiffs’ claims occurred in this district” is

insufficient to establish proper venue.) Rather, the plaintiff must allege specific facts

sufficient to prove that venue is proper in the district in which the Complaint is filed. Id.

       The Plaintiff has clearly not met this burden. As pointed out above, NCA and the

Plaintiff both have a principal place of business in Florida, there is no evidence that NCA

conducts any business in Oklahoma, NCA does not have any offices or employees that

reside in Oklahoma and NCA does not have any employees that travel to Oklahoma as

part of their regular business activities. Plaintiff only makes unsubstantiated allegations

that NCA conducts business in Oklahoma. The Plaintiff has failed to provide actual

evidence that NCA conducts any business in Oklahoma, based on the Exhibits provided.

Thus, based on a subsection (b)(2) analysis, it would be disingenuous for the Plaintiffs to

argue that a “substantial part of the events or omissions giving rise to the claim occurred”



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in Oklahoma, given that the Plaintiff has provided no evidence to support the fact that

NCA actually solicited funds in Oklahoma.

IV.    TRANSFER OF VENUE UNDER 28 U.S.C. § 1404(a) IS APPROPRIATE

       The statute provides that “for the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or

division where it might have been brought or to any district or division to which all

parties have consented.” 28 U.S.C. § 1404 (a). The discretionary factors that a court

should consider include: “the accessibility of witnesses and other sources of proof,

including the availability of compulsory process to insure attendance of witnesses; the

cost of making the necessary proof…and, all other considerations of a practical nature

that make a trial easy, expeditious and economical.” Chrysler Credit Corp. v. Country

Chrysler, Inc., 928 F.2d 1509, 1516 (10th Cir. 1991) (quoting Texas Gulf Sulphur Co. v.

Ritter, 371 F.2d 145, 147 (10th Cir. 1967). Although the plaintiff’s choice of a forum was

also one of the Chrysler factors, this factor is not determinative, and certainly would not

alter the balancing factors in this case in having a forum outside of the state of Florida,

where both parties have a principal place of business. See e.g., Iron Cross Auto., Inc. v.

Rampage Prod., LLC, WL 5466660, at *3 (N.D. Okla. Sept. 30, 2013).

       In this case, the accessibility of witnesses and proof, the cost of attaining

attendance of witnesses, and the fact that both parties reside in the same state of Florida,

clearly make dismissal, or in the alternative, transfer to the United States District Court

for the Southern District of Florida, appropriate.



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V.     JURISDICTIONAL DISCOVERY

       As stated above, Plaintiff has failed to show that jurisdiction and venue are in any

way appropriate in this case. It is respectfully submitted that jurisdictional discovery is

not likely to lead to any new information of value regarding the inquiry of proper

jurisdiction and venue in the present case. Thus, NCA respectfully opposes Plaintiff’s

request for jurisdictional discovery.

Dated: October 3, 2017

                                        Respectfully submitted,



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                             CERTIFICATE OF SERVICE

        I hereby certify that on the 3rd day of October, 2017, I electronically transmitted
the attached document to the Clerk of the Court using the ECF System for filing and
transmittal of a Notice of the Electronic Filing to the following ECF registrants:

       Martin G. Ozinga mgozinga@phillipsmurrah.com
       Cody J. Cooper cjcooper@phillipsmurrah.com
       Jennifer L. Miller, jlmiller@phillipsmurrah.com

And by US Mail, postage prepaid, to the following:

       None.



                                             /s/Craig Fitzgerald




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